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                            UNITED STATES DISTRICT COURT
                            SOU TH ERN D ISTRICT O F FLO RIDA

 U NITED STATES O F AM ER ICA ,
       Plaintiff,


                VS                          Case N o:19-6407-SN OW
                                                 ND/TX # 3:19-M J-604-BN
 JOSE ANIBAL LINARES
      Defendant.

                                          O RD ER


          THIS CAUSE isbefore the Courtforthe initialappearanceofthe above-named

 defendantts)onaSEALED COM PLAINT from theNorthenzDistrictofTexas.
          UPON ORAL m otion ofthegovernmentin open courtthatthe case beunsealed,itis

 hereby
          ORDERED AND ADJUDGED thattheCOM PLAINT beunsealed asto a11parties.

          DONE AND ORDERED atFortLauderdale,Florida this26th day ofAugust,2019.




                                                      A s sxow
                                                              J .
 cc:A1lCounselofRecord                         IJNITED siv ssMAGISTM TEJIJDGE
